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      United States Court of Appeals
          for the Federal Circuit
                   __________________________

       MOHAMAD E. TAHA, DECEASED, SANAA M.
               YASSIN, HIS WIFE,
               Plaintiffs - Appellants

                                v.

                       UNITED STATES,
                       Defendant - Appellee
                   __________________________

                            18-1879
                   __________________________

        Appeal from the United States Court of Federal Claims
    in case No. 1:17-cv-01174-CFL, Judge Charles F. Lettow.
                    __________________________

                            MANDATE
                   __________________________

        In accordance with the judgment of this Court, entered
    December 14, 2018, and pursuant to Rule 41 of the Federal
    Rules of Appellate Procedure, the formal mandate is
    hereby issued.



                                     FOR THE COURT

    February 04, 2019                /s/ Peter R. Marksteiner
                                     Peter R. Marksteiner
                                     Clerk of Court
